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      Case 1:18-cv-00377-JAP-KBM Document 1-2 Filed 04/23/18 Page 1 DISTRICT
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                                                                                                           James A. Noel
                                                                                                           Destiny Juarez
STATE OF NEW MEXICO
COUNTY OF BERNALILLO
SECOND JUDICIAL COURT

BOB CRABTREE AND ANNETTE CRABTREE
     PLAINTIFFS,

v.                                                              D-202-CV-2018-02234
                                                     CASE NO. - - ---------

WELLS FARGO BANK, N.A., AS TRUSTEE FOR
THE POOLING AND SERVICING AGREEMENT
DATED AS OF OCTOBER 1, 2004, MERRILL LYNCH
MORTGAGE INVESTORS TRUST MORTGAGE LOAN
ASSET-BACKED CERTIFICATES, SERIES 2004-WMC5;
ALTISOURCE AIK/A ALTISOURCE SINGLE FAMILY, INC.,
PROPERTY PRESERVATION SERVICING, LLC,
JOHN DOE I, JOHN DOE II, JOHN DOE III, AND JOHN DOE IV,
     DEFENDANTS.

         COMPLAINT TO RECOVER THEFT OF PERSONAL PROPERTY,
          DAMAGES FOR INTENTIONAL AND RECKLESS TRESPASS,
     DAMAGE TO REAL PROPERTY, VIOLATION OF FAIR DEBT COLLECTION
      PRACTICES ACT, DECLARATORY JUDGMENT, VIOLATION OF UNFAIR
           PRACTICE ACT, DEFAMATION AND SLANDER OF TITLE,
                        AND PUNITIVE DAMAGES

       Plaintiffs, Bob and Annette Crabtree (herein "Plaintiffs"), through their attorney of record,

Louis Puccini, Esq., of Robert D. Gorman, P.A., hereby submits this Complaint to Recover Theft

of Personal Property, Damages for Intentional and Reckless Trespass, Theft, Damage to Real

Property, Violation of Fair Debt Collection Practices Act, Violation of Unfair Practice Act, and

Punitive Damages against Wells Fargo Bank, N.A., as Trustee for the Pooling and Servicing

Agreement Dated as of October 1, 2004, Merrill Lynch Mortgage Investors Trust Mortgage Loan

Asset-Backed Certificates Series 2004-W-MCS (herein "Wells Fargo"); Altisource Single Family,

Inc. a/k/a Altisource (herein "Altisource"); Property reservation Services, LLC (herein "PPS")

John Doe I, John Doe II, John Doe III, and John Doe IV (herein jointly "John Doe"), and alleges

as follows:



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                                                                                        Exhibit A
     Case 1:18-cv-00377-JAP-KBM Document 1-2 Filed 04/23/18 Page 2 of 18



                                JURISDICTION AND VENUE

       1.      Plaintiffs are New Mexico residents with their principal residence in the City of

Albuquerque, County of Bernalillo, State of New Mexico.

       2.      The real estate and property which is the subject matter of this Complaint, owned

by the Plaintiffs, is located within Bernalillo County, State of New Mexico, and has an address of

39 Buckboard Road, Tijeras, New Mexico 87059.

       3.      Defendants, Wells Fargo, Altisource, and PPS do business in New Mexico; and

Altisource and PPS, are both registered with the State of New Mexico, Secretary of State,

Corporation Division to do business within the State of New Mexico and maintain registered

agents within the State of New Mexico.

       4.      Upon information and belief Defendants John Doe are employees, agents OR

persons acting on behalf of Altisource, PPS and/or Wells Fargo in Bernalillo County, State of New

Mexico, and are residents of the State of New Mexico.

       5.      All events which form the basis of the Complaint occurred within Bernalillo

County, State of New Mexico.

       6.      Jurisdiction in this Court is proper for Plaintiffs' claims pursuant to § 61-18A-l,

§38-3-1 (NMSA 1978 Comp.), and 15 USC§ 1692 et seq.

       7.      Venue is proper pursuant§ 38-3-1 (NMSA 1978 Comp.).

                                 GENERAL ALLEGATIONS

       8.      Plaintiffs own approximately twelve (12) acres m the Manzano Mountains,

Bernalillo County, State of New Mexico, on which they have structures and improvements

including a well-maintained vacation cabin and storage shed. The Plaintiffs have owned this

property for over thirty (30) years. The address of the property is 39 Buckboard Road, Tijeras,

New Mexico 87059 (herein "Crabtree Property").
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     Case 1:18-cv-00377-JAP-KBM Document 1-2 Filed 04/23/18 Page 3 of 18



       9.      Wells Fargo, a nationwide bank, is a National Association and does business within

the State of New Mexico.

        10.    Altisource is a foreign corporation, incorporated in Delaware, and is registered in

New Mexico and does business within the State of New Mexico.

        11.    Property Preservation Servicing, LLC (herein "PPS") does business in New Mexico

(see Exhibit D) and is the agent of Altisource, has employees, John Doe I through IV.

        12.    Upon information and belief, Defendants John Doe I through IV are individuals

employed by either Wells Fargo, Altisource and/or PPS, and their actions complained of herein

occurred in Bernalillo County, New Mexico

        13.    Wells Fargo, as Trustee, was the mortgagee of a certain parcel of real estate located

on two (2) acres on which there was a residential house, at 37 Buckboard Road, Tijeras, New

Mexico 87059 (herein "Foreclosed Property").

        14.    The owners of the property at 37 Buckboard Road, the Willhites, vacated and

abandoned the Foreclosed Property about six (6) years ago, filed bankruptcy, and it has not been

occupied since abandonment.

        15.    The structure, m an isolated rural area, is falling down, windows broken, in

deteriorating condition, has a dry well, inhabited by rodents, is uninhabitable, and is a fire hazard.

        16.    On or about May 1, 2017 Wells Fargo filed a foreclosure Complaint in Bernalillo

County District Court, Cause No. D-202-CV-2017-03056.

        17.    Wells Fargo recorded a Lis Pendens with the Bernalillo County Clerk on June 2,

2017 claiming an interest in the Foreclosed Property.

        18.    On October 17, 2017, the Court with the consent of the owners, entered a stipulated

foreclosure judgment in favor of Wells Fargo.



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      Case 1:18-cv-00377-JAP-KBM Document 1-2 Filed 04/23/18 Page 4 of 18



        19.     On December 7, 2017 a Special Master's sale occurred at which Wells Fargo

purchased the property at 37 Buckboard Road for a $50,000 credit bid. Upon information and

belief, the Special Master sent the Special Master's Report and deed to counsel for Wells Fargo.

As of the filing of this Complaint the Court has not approved the December 7, 2017 Special

Master's Sale, and a deed has not been recorded.

        20.    Wells Fargo should be deemed the actual owner of the property at 37 Buckboard

Road, Tijeras, New Mexico, the Foreclosed Property.

       21.      The Plaintiffs' property, including improvements, adjoins the Foreclosed Property,

and has an address of 39 Buckboard Road, Tijeras, New Mexico (herein the "Crabtree Property").

The Crabtrees' cabin and storage shed and other improvements are located about one-hundred

(100) yards from the Foreclosed Property. There is a separate Plat recorded with the Bernalillo

County Clerk identifying both the Foreclosed Property and the Crabtree Property.

       22.      The Foreclosed Property and the Crabtree Property are separately assessed and

taxed by the Bernalillo County Assessor and Treasurer, each with its separate address.

        23.    Upon information and belief after the foreclosure sale Wells Fargo employed

Al ti source Single Family, Inc. (herein "Al ti source") and/or PPS as its agents to secure and preserve

the Foreclosed Property.

       24.      On January 12, 2018 Altisource through its employees or agents John Does I

through IV, without any notice to the Plaintiffs, trespassed and forcibly broke into the Crabtree

Property, breaking locks and forcibly opening locked doors, stealing personal property of the

Crabtrees' and damaging the structures. Al ti source posted signs in the windows of the Crabtree

Property including what it labeled as New Mexico Notice of Right to Reclaim Abandoned Personal

Property (see Exhibit A). Altisource also posted a Notice "Altisource - This Property is Under



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      Case 1:18-cv-00377-JAP-KBM Document 1-2 Filed 04/23/18 Page 5 of 18



the Supervision of Al ti source" (see Exhibit B); Personal Property Inventory List of some of the

personal property stolen by Altisource (see Exhibit C).

        25.    On January 13, 2018 Altisource and/or PPS and/or their employees John Does I

through IV again trespassed on the Crabtree Property, breaking into the cabin and pouring

contaminates (an anti-freeze solution), into the plumbing and onto the real estate. PPS posted a

Winterization Notice on the Crabtree Property (see Exhibit D), admitting its actions.

        26.    On February 17, 2018 the Plaintiffs first discovered the Defendants burglary and

trespass.

        27.    On February 17, 2018 the Crabtrees' filed a formal report of the burglary and theft

with the Bernalillo County Sheriffs Department.

        28.    On February 17, 2018 the Crabtrees contacted Altisource and demanded immediate

return of their personal property and that Al ti source pay for all damages.

        29.    On February 17, 2018 Altisource represented it would complete its investigation

and reply within twenty-four to forty-eight hours. To date, Altisource has failed and refused to

respond.

        30.    On February 21, 2018 the Crabtrees' counsel sent a demand letter to Altisource,

Wells Fargo, and later to PPS, again demanding return of all personal property and for damages to

the Crabtree Property.

        31.    Altisource, by its agent Robert E. Buckley, responded on February 26, 2018 that

Altisource would need seven to ten days to review the records, and requested that all further

communication be directed to him at Altisource.

        32.    No response has ever been received from Wells Fargo.

        33.    Other than some emails, no other response was received from Altisource.

        34.    No response has ever been received from PPS.
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      Case 1:18-cv-00377-JAP-KBM Document 1-2 Filed 04/23/18 Page 6 of 18



          35.    Wells Fargo, Altisource, and PPS have failed and refused to return any of the

Crabtrees' personal property, failed to repair damages, and have refused to even offer to repair

damages.

          36.    The actions of Wells Fargo, Al ti source, and PPS were willful and intentional and/or

conducted in a careless and reckless manner in total disregard of the rights and property interests

of the Plaintiffs, interfering with Plaintiffs' peaceful use and enjoyment of their property. Plaintiffs

are entitled to punitive damages of $1,000,000 plus all actual damages.

                            I.   FIRST CAUSE OF ACTION
                      TRESPASS AND DAMAGE TO REAL PROPERTY

          37.    Plaintiffs adopt all allegations in paragraphs 1 through 36 the same as if contained

herein.

          38.    Wells Fargo is responsible for the actions of its agents, Altisource, PPS, and John

Does I through IV.

          39.    Defendants, and each of them, trespassed on the Crabtree Property causing actual

damage to the improvements and real estate.

          WHEREFORE, Plaintiffs move the Court to enter judgment against all Defendants, jointly

and severally, for actual and punitive damages, and other just relief

                              II. SECOND CAUSE OF ACTION
                              THEFT OF PERSONAL PROPERTY

          40.    Plaintiffs adopt all allegations in paragraphs 1 through 39 the same as if contained

herein.

          41.    Defendants and/or their agents on January 12, 2018 misappropriated the Crabtrees'

personal property leaving an Inventory of some of property (see Exhibit C) that was illegally taken.

The Inventory fails to list all personal property that was taken.



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      Case 1:18-cv-00377-JAP-KBM Document 1-2 Filed 04/23/18 Page 7 of 18



          42.    Despite repeated demands, the defendants have refused to return any of the personal

property removed by them from the Crabtree Property.

          43.    Separately, since February, 2018, despite notice to all Defendants that the

Defendants had no right, title, or interest in the Crabtrees' personal property, they jointly and

severally have refused to return any of the Crabtrees' personal property.

          44.    Defendants, despite requests, have refused to provide the address and person who

has possession of the personal property, and its location is unknown to Plaintiffs. This claim is

ongomg.

          WHEREFORE, Plaintiffs move the Court for a judgment against all Defendants, jointly

and severally, to immediately return all of the Crabtrees' personal property, for all actual damages,

to be determined, punitive damages, and other just relief

                               III.   THIRD CAUSE OF ACTION
                                      PRIMA FACIE TORT

          45.    Plaintiffs adopt all allegations in paragraphs I through 44 the same as if contained

herein.

          46.    Defendants' intentional actions injured the Plaintiffs, and there was a complete

absence of justification for Defendants' actions. All constitute a Prima Facie Tort pursuant to New

Mexico law.

          WHEREFORE, Plaintiffs move the Court to enter judgment against all Defendants, jointly

and severally, for actual and punitive damages, and other just relief

                       IV.   FOURTH CAUSE OF ACTION
            VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

          47.     Plaintiffs adopt all allegations in paragraphs I through 46 the same as if contained

herein.



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      Case 1:18-cv-00377-JAP-KBM Document 1-2 Filed 04/23/18 Page 8 of 18



          48.      Defendants, Wells Fargo and Altisource are debt collectors as defined by the Fair

Debt Collection Practices Act, 15 USC § 1692 et seq. (herein "FDCP A").

          49.    Plaintiffs are entitled to actual and punitive damages and an award of attorney's

fees and costs pursuant to FDCP A.

          50.    Wells Fargo, as principal, is liable for the wrongful and illegal acts of its agents,

including Altisource.

          WHEREFORE, Plaintiffs pray entry of judgment against Wells Fargo, Al ti source, and

John Doe Defendants I through IV, jointly and severally, for actual and punitive damages and an

award of attorney's fees and costs, and other just relief

                           V.   FIFTH CAUSE OF ACTION
                VIOLATION OF THE NEW MEXICO UNFAIR PRACTICES ACT

          51.    Plaintiffs adopt all allegations in paragraphs 1 through 50 the same as if contained

herein.

          52.     There was in force in this State, at all times material to this case, a State Statute

commonly known as the Unfair Practices Act, NMSA 1978, § 57-12-1 et seq., including but not

limited to§ 57-12-2 (NMSA 1978 Comp.).

                  A.     "unfair or deceptive trade practice" means an act specifically declared

unlawful pursuant to the Unfair Practices Act [57-12-1 NMSA 1978], a false or misleading oral

 or written statement, visual description or other representation of any kind knowingly made in

 connection with the sale, lease, rental or loan of goods or services or in the extension of credit or

in the collection of debts by a person in the regular course of the person's trade or commerce, that

 may, tends to or does deceive or mislead any person and includes:

                 B.      "unconscionable trade practice" means an act or practice in connection with

the sale, rental or loan or in connection with the offering for sale, rental or loan, of any goods or


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      Case 1:18-cv-00377-JAP-KBM Document 1-2 Filed 04/23/18 Page 9 of 18



 services, including services provided by licensed professionals, or in the extension of credit or in

the collection of debts that to a person's detriment:

          Plaintiffs have incurred damages and attorney's fees as a result of Defendants' violation of

the Unfair Practices Act.

          WHEREFORE, Plaintiffs pray the Court enter a judgment against all Defendants, jointly

and severally, for violation of the New Mexico Unfair Trade Practices Act for three (3) times the

Plaintiffs actual damages pursuant to § 52-12-1 O(B) NMSA (1978), including actual damages, for

punitive damages, costs, attorney's fees, and other just relief

                               VI. SIXTH CAUSE OF ACTION
                            DEFAMATION AND SLANDER OF TITLE

          53.    Plaintiffs adopt all allegations in paragraphs 1 through 52 the same as if contained

herein.

          54.    Defendants' actions were false and malicious written statements including those

posted on the Crabtree Property in disparagement of Plaintiffs' title to their real and personal

property resulting in damage.

          55.    Defendants' actions constitute a slander of title and interference with Plaintiffs'

peaceable and quiet enjoyment of Plaintiffs' real estate and other property.

          WHEREFORE, Plaintiffs pray the Court enter judgment against all Defendants, jointly and

severally, for damages in an amount to be determined, and other just relief

                             VII. SEVENTH CAUSE OF ACTION
                             CONTAMINATION OF REAL ESTATE

          56.    Plaintiffs adopt all allegations in paragraphs 1 through 55 the same as if contained

herein.

          57.    PPS admitted contaminating the Crabtree Property with antifreeze (a known

pollutant) on January 13, 2018 (see Exhibit D). The antifreeze drained into the ground.
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     Case 1:18-cv-00377-JAP-KBM Document 1-2 Filed 04/23/18 Page 10 of 18



          58.     PPS was employed by Altisource and Altisource was employed by Wells Fargo.

          59.     Wells Fargo and Altisource, as principals, are liable for the wrongful acts of their

agent, PPS, and its employees, John Does I through IV.

          WHEREFORE, Plaintiffs pray judgment against all Defendants, jointly and severally, for

actual damages, the remediation expense, punitive damages, and other just relief

                          VIII. EIGHTH CAUSE OF ACTION
          BREACH OF CONTRACT DAMAGES OR TO TERMINATE EASEMENT
                          AGAINST WELLS FARGO

          60.     Plaintiffs adopt all allegations in paragraphs 1 through 59 the same as if contained

herein.

          61.     The previous owners (Willhite) entered into a Road Maintenance Declaration dated

July 17, 1991, which was recorded with the Bernalillo County Clerk on July 25, 1991 at Book 91-

13, page 677, which in summary, required the owner of 37 Buckboard Road to maintain the road

at its expense.

          62.     The access easement roadway is on the Crabtree Property, which Plaintiffs own in

fee simple.

          63.     The easement and Road Maintenance Declaration states that it shall "run with the

property" and all subsequent owners are subject thereto. The Road Maintenance Declaration states

it was entered into "on behalf of themselves (the Willhites), their heirs, successors and/or assigns"

and that "all costs of maintenance shall be borne by the Declarants (Willhites), their heirs,

successors and/or assigns in interest."

          64.     The Road Maintenance Declaration was recorded prior to the mortgage assignment

to Wells Fargo on January 25, 2013. Wells Fargo knew or should have known about the Road

Maintenance Declaration.



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     Case 1:18-cv-00377-JAP-KBM Document 1-2 Filed 04/23/18 Page 11 of 18



       65.     The prior owners, the Willhites, have failed to maintain the road or make use of for

over six (6) years since they abandoned the Foreclosed Property.          The easement has been

abandoned for non-use.

       66.     Wells Fargo was provided notice and a demand to comply with the Road

Maintenance Declaration and has failed to do so.

       67.     Wells Fargo has defaulted in its obligations under the Road Maintenance

Declaration.

       68.     Plaintiffs are entitled to judgment to enforce the Road Maintenance Declaration

against Wells Fargo and for expenses of maintenance.

       69.          In the alternative, the Court should enter a declaratory judgment pursuant to

Rule 1-057 (NMRA 2017) terminating the easement and Road Maintenance Declaration, declaring

the roadway easement is null and void and of no effect.

       WHEREFORE, Plaintiffs further pray the Court to enter a declaratory judgment against

Wells Fargo either:

               A        Compelling Wells Fargo to pay for all road maintenance expenses, plus

attorney's fees and costs;

               B.       Breach of Contract damages, including attorney's fees and costs;

               C.       In the alternative, to declare the easement abandoned and terminated;

               D.       In the alternative, to nullify and terminate the easement and Road

Maintenance Declaration due to the owners' default under the Road Maintenance Declaration; and

               E.       For other just relief




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                               IX.     NINTH CAUSE OF ACTION
                                          NEGLIGENCE

          70.    Plaintiffs adopt all allegations in paragraphs 1 through 69 the same as if contained

herein.

          71.    Defendants' actions were negligent, intentional, and reckless.

          72.    Plaintiffs have suffered emotional distress and anxiety, and loss of use of their real

and personal property.

          WHEREFORE, Plaintiffs pray judgment against all Defendants, jointly and severally, and

other just relief

                                                        Respectfully Submitted,

                                                        ROBERT D. GORMAN, P.A.
                                                        By: Isl Louis Puccini. Jr.
                                                        P.O. Box 25164
                                                        Albuquerque, NM 87125-0164
                                                        T. 505.243.5442 IF. 505.247.5319
                                                        E. louis((u.rdgormanlaw.com




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                          NEW MEXICO NOTICE OF RIGHT TO RECLAIM
                              ABANDONED PERSONAL PROPERTY


                        DATE NOTICE POSTED AT PROPERTY




To:



                                            (Name of fonne.r Occupant)

Address:



                                           (Address of fonner Occupant)

We have reason to believe that the property has been abandoned at:



                    (Address of premises, including room or apartment nmnber, ifany)

The personal property remaining is now considered abandoned. Unless you notify us no later than tli.irty
(30) days after the date of this notice that the personal property has not been abandoned and of your intent
to claim it, and unless you pay the reasonable costs of storage, ifany, we will dispose of this personal
property in accordance with state law.




                                                                                          '"'
                                   (Address where property may be claimed)



                      This notice is posted at the property and sent via first class mail.


                           Altisourre is a service provider for the new owner of this property.

              r-or further guidance, cootacl: Altisourre - Property Presen'ation & Inspection at 866-952-6514



                                                        EXHIBIT A
                               Case 1:18-cv-00377-JAP-KBM Document 1-2 Filed 04/23/18 Page 14 of 18
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                                                             This property is under the supervision of Altisource™.


                                                                                 Phone: 866-952-6514
                                                                   Option 1.. To report access issues/ Incorrect Code
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><                                                                 Option 2.. To get Information on a property In REO
:r.:
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   If there is a need to access this property or report a problem, you must contact the Authorized represer1tative of
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OJ                                               Altisourc:e™ listed below.

                   UTILITY COMPANY REPRESENTATIVES are hereby allowed access for utility activation

   Vendor Name:                                           I'PS llc

   Contact Phone Number:                                 9 49~612~0342
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       It Is illegal to discriminate against an) person because of race, color, religion, sex, handicap, famlHal status, vr national origin.
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                                                                                                           Altisource

                                       Personal Property Inventory List



SI.No. Quantity                   Personal Property Description                                 Salvation Army Garage Sale Vaine

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      For further guidance, contactAltisource -Property Preservation & Inspection at 866-952-6514.
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                                    Altisowre is a service provider for the new owner of this property.


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                                   Thinking Ahead. Delivering Today.
                                         P.O. Box 105460 I Atlanta. Georgia 30348-5460


                                                          EXHIBIT C
         Case 1:18-cv-00377-JAP-KBM Document 1-2 Filed 04/23/18 Page 16 of 18


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                                   Personal Property Inventory List
Date:
Property ID:
Property Address:    "7'1 ~~l';t:Jhl.l' f?DA-p 14,NtrA-                                      TfJenu, N._11,A,
 SLNo. Quantity               Personal Property Description                                 Salvation Army Garage Sale Value


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        For further gmdance, contact Alttsource - Property Preservation & Inspection at 866-952-6514.
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                                Thinking Ahead.                De~ivering Today.~
                                     P.O. Box 105460 I Atlanta. Georgia 30348-5460
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                 Email: pos@prooertvpreservationsarvidni<.com   Contact (949) 612--0342 Office




       PROPERTY ADDRESS:    ~'1 ~ R-b -rp~ I' IV /IA.;

           THIS PROPERTY HAS BEEN WINTERIZED THEREBY RENDERING ALL PLUMBING SYSTEMS IN AN
                                       INOPERABLE CONDffiON.



        WATER IS SHUT OFF; HOLDING TANKS AND PIPING HAVE BEEN DRAINED AND All TRAPS HAVE BEEN
                           TREATED   wrm Arvm.
                                             .1µ~ ~9 f)E-<:JREE Af'IDFREEZE SOLUTION.




                            00 NOT USE THESE FAOUTIES UNTIL WATER IS RESTORED.




                        PRIOR TO USING PLUMBING SYSTEMS, THOROUGHLY RUSH All

                      FAUCETS, SINKS, WATER CLOSETS ANO APPLIANCES HAVING WATER

                                             PIPED INTO THEM.



      ----'IF BOX ON THE LEFT IS CHECKED FREEZE DAMAGE IS PRESENT, AND THERE IS~ REPOl_tT·ON FILE

                                 AVAILABLE TO OUR OJENTS UPON REQUEST.




                                                 EXHIBIT D
                                 Bilfl"" ,,._._ ..



                                                           CAUTI N!
        Case 1:18-cv-00377-JAP-KBM Document 1-2 Filed 04/23/18 Page 18 of 18
      CAUTI N!                                       THIS HOUSE HAS BEEN WINTERIZE
                                                      WITH ANTI-FREEZE IN ALL DRAINS
TIIlS HOUSE HAS BEEN WINTERIZED                             AND TOILET BOWLS.
 WITH ANTI-FREEZE IN ALL DRAINS                       PLEASE RUN WATER THROUGH
        AND TOILET BOWLS.                              THE DRAINS BEFORE USING.
 PLEASE RUN WATER THROUGH
  THE DRAINS BEFORE USING.




   DATE: 1 [ 1;.   Jzoie


   CAUTI N!
THIS HOUSE HAS BEEN WINTERIZED
 WITH ANTI-FREEZE IN ALL DRAINS
       AND TOILET BOWLS.
PLEASE RUN WATER 'I'HROUGH
  THE DRAINS BEFORE USING.



    DATE:   l / l~   /un Pl

       CAUTI N!
 THIS HOUSE HAS BEEN WINTERIZED
  WITH ANTI-FREEZE IN ALL DRAINS
         AND TOILET BOWLS.
 PLEASE RUN WATER THROUGH
   TIIE DRAINS BEFORE USING.
